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IN THE UNJ:TED sTATEs DISTRIcT couRT '?-,H';" _LUL{
FoR THE wEsTERN DISTRICT oF TENNESSEE g
WESTERN DIvIsIoN USF*PR 22 PH ,'. q

 

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EDWIN conAY and THELMA conAY, ) \MD,OFTN NH¢H%§
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)
Plaintiffs, )
)
vs. ) No. 04-2557-Mav
)
ALLSTATE INSURANCE coMPANY, )
et al., )
)
De£endants. )

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
April 21, 2005. Present were Venita Magin, counsel for plaintiffs,
and Michael Mills, counsel for defendants. At the conference, the
following dates were established as the final dates for:

JOINING PARTIES: June 21, 2005

AMENDING PLEADINGS: Jdne 21, 2005

INITIAL MOTIONS TO DISMISS: July 22, 2005

COMPLETING ALL DISCOVERY: December 23, 2005
(a) DOCUMENT PRODUCTION: December 23, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: December 23, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: October 21, 2005

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(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: November 23, 2005

(3) EXPERT WITNESS DEPOSITIONS: December 23, 2005
FILING DISPOSITIVE MOTIONS: January 24, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All nwtions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good. cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 2-3 days. The pretrial order date, pretrial conference date,
and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

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This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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DIANE K. vEScovo
UNJ:TED sTA'rEs MAGISTRATE JUDGE
DATE= a?é/u,€ 33,.¢?006_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02557 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

ESSEE

 

Michael P. Mills

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Honorable Samuel Mays
US DISTRICT COURT

